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                    EXHIBIT R
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                                                                U.S. Department of Justice

                                                                Civil Division, Fraud Section



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Via Electronic Transmission                           August 31, 2009

David Torborg
Jones Day
51 Louisiana Ave., N.W.
Washington, DC 20001-2113


         Re:       Average Wholesale Price Multi-District Litigation
                   MDL No. 1456/C.A. No. 01-12257-PBS (D. Mass.)

Dear David:

        I am writing in response to your email of August 14, 2009 and an earlier letter that you
resent with that email. Your email and correspondence cover, essentially, two topics. The first
topic relates to deponents and/or deposition topics that were addressed in rulings by Magistrate
Judge Bowler at a hearing on December 4, 2008; the second relates to deposition questions
covered by the June 29, 2009 Supplemental Memorandum and Order by the Special Master,
Judge Allen van Gestel.

       With respect to the first topic, you have requested that we reopen discovery for the
purpose of scheduling the depositions of Ira Burney and the Government’s Rule 30(b)(6)
designees. We do not see any valid basis for reopening discovery for these deponents at this
time. We provided you with dates for the Government’s Rule 30(b)(6) designees shortly after
Judge Bowler ruled on the protective order motions. Abbott elected not to take those
depositions. As for witnesses from the Office of Legislation, you scheduled and took the
deposition of Debbie Chang. You never bothered to schedule the deposition of Ira Burney.
Neither Judge Saris or Judge Bowler have ever ordered, or indicated in any manner, that Abbott
was given the option of suspending the limited additional discovery allowed by Judge Bowler in
December 2008 for a period of approximately ten months.

       With respect to the deposition testimony covered by the Supplemental Order of the
Special Master, upon further review of excerpts, I believe it is worth considering alternatives to
reopening in-person oral depositions in light of Judge van Gestel’s observation that it was
unclear whether in fact the deponents had refrained from giving testimony after government
counsel stated a general cautionary instruction that a witness should refrain from disclosing the
content of privileged communications. We also have special concerns about disrupting and
inconveniencing retired CMS employees such as Robert Neiman and Charles Booth given how
unlikely it appears that they will have any further testimony to offer. Additionally, using written
questions, as suggested by Judge Bowler, would facilitate the need to have the questioning
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conform to the relevancy parameters set out by Judge Saris with respect to the Government’s
assertion of the deliberative process privilege. For example, it would help insure that testimony,
if any, relates to the agency’s knowledge of mega spreads for infusion and inhalation drugs, as
well as Vancomycin.

       I look forward to hearing your thoughts on this issue. Thank you for your attention.


                                        Very Truly Yours,


                                              /s/
                                       Justin Draycott
                                       Trial Attorney
                                  Commercial Litigation Branch
